                       UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                             DOCKET NO. 3:11CR190-MOC

UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )                    SECOND
                                                  )             PRELIMINARY ORDER
                v.                                )                OF FORFEITURE
                                                  )              (MONEY JUDGMENT)
(6) DARRYL BROCK,                                 )
                                                  )
                       Defendant.                 )

        In the bill of information in this case, the United States sought forfeiture of property of

the defendant as property that was proceeds of and/or was used to facilitate the crimes charged,

together with any other substitute property, which would be subject to forfeiture under ' 853(p).

        Defendant entered into a plea agreement; subsequently pled guilty to Count One in the

bill of information; and was adjudged guilty of the offenses charged in those counts. Based on

the undisputed evidence summarized in the offense conduct section of the presentence report, it

appears that more than $200,000 in criminal proceeds was obtained as a result of the conspiracy

in this case.

        It is therefore ORDERED that defendant shall pay a forfeiture money judgment for

criminal proceeds in the amount of $200,000, and shall be jointly and severally liable with any

other defendants who are also ordered to pay a proceeds money judgment in this case.

                                                  Signed: October 30, 2012




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